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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

RAFAELA ALDACO,                                        )
                                                       )     Case No.: 1-16-CV-05754
                Plaintiff,                             )
                                                       )
     v.                                                )     The Honorable Joan H. Lefkow
                                                       )
  RENTGROW, INC. d/b/a Yardi Resident                  )
  Screening,                                           )
                                                       )
                Defendant.                             )


                MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

          Plaintiff Rafaela Aldaco ("Plaintiff") moves this Court, pursuant to Federal Rule of Civil

Procedure 5.2, Local Rule 26.2 and the Agreed Protective Order entered in this action (Dkt. 28),

for leave to file portions of her Memorandum of Law/Response to Defendant's Motion for

Summary Judgment, Plaintiff's Local Rule 56.1Statement of Undisputed and Disputed Material

Facts and Separate Statement of Additional Facts; and Declaration of Stephanie Tatar.

          In support of this motion, Ms. Aldaco states as follows:

          1.     Pursuant to Local Rule 26.2(c), Aldaco provisionally filed portions of her

Memorandum of Law in Support of Plaintiff's Opposition to Defendant's Motion for Summary

Judgment (Dkt. 51), Plaintiff's Local Rule 56.1Statement of Undisputed and Disputed Material

Facts and Separate Statement of Additional Facts; (Dkt. 52) and Declaration of Stephanie Tatar

(Dkt. 53) electronically under seal. Ms. Aldaco now seeks leave of this Court to file the

documents under seal pursuant to Local Rule 26.2 (c), which allows a party to file a sealing

motion "before or simultaneously with the provisional filing of the document under seal." N.D.

Ill. L.R. 26.2(c).



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       2.        Under the Local Rules of the Northern District of Illinois, the Court "may for

good cause shown enter an order directing that one or more documents be filed under seal." N.D.

Ill. L.R. 26.2(b). Here, good cause exists for Ms. Aldaco to file documents that have been

designated as "Confidential Information" pursuant to the parties' Agreed Protective Order, or fall

within Fed. R. Civ. P. 5.2, under seal.

       3.        The Agreed Protective Order was entered by this Court on February 13, 2017.

(See Dkt. 28.)

       4.        Under the Agreed Protective Order, "Confidential Information" is defined as

information designated as "CONFIDENTAIL-SUBJECT TO PROTECTIVE ORDER" by the

producing party that falls within a number of categories, including "information that reveals

trade secrets" and "research, technical, commercial or financial information that the party has

maintained as confidential." (Dkt. 28,¶ 2.)

       5.        Defendant's confidential commercial and trade secret information are at issue in

this action brought by Plaintiff under the Fair Credit Reporting Act. Specifically, Plaintiff is

required to prove that (1) inaccurate information was reported on her criminal background report

and (2) that the inaccuracy was due to Defendant's failure to follow reasonable procedures to

ensure maximum possible accuracy. See McNamara v. HireRight Solutions, Inc., No. 13 C 2515,

2014 WL 321790, at *3 (N.D. Ill. Jan 29, 2014) (citing Henson v. CSC Credit Servs., 29 F. 3d

280, 284-85 (7th Cir. 1994)).

       6.        Plaintiff will file redacted copies of both Memorandum of Law/Response to

Defendant's Motion for Summary Judgment, Plaintiff's Response to Defendant's Local Rule 56.1

Statement of Undisputed Material Facts, and Plaintiff's Local Rule 56.1 Statement of Additional

Undisputed Material Facts, removing only reference to such confidential information.



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       WHEREFORE, Plaintiff Rafaela Aldaco respectfully requests that this Court enter an

Order granting it leave to file the aforementioned documents under seal.



Dated: June 22, 2017                                       Respectfully submitted,

                                                           /s/ Stephanie R. Tatar
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                                                           Rafaela Aldaco




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing Motion for Leave to File Documents Under

Seal was filed electronically on this 22nd day of June, 2017, in compliance with the General

Order on Electronic Case Filing, Section III(B)(1). As such, this document was served on all

counsel who are deemed to have consented to electronic service. Fed. R. Civ. P. 5(b)(2)(E) and

Local Rule 5.9.




                                                    By: /s/ Stephanie R. Tatar




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